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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY,                                        :
                          Plaintiff,               :
                 v.                                :      Civ. No. 18-3555
                                                   :
CONFERENCE FACILITIES, INC.,                       :
              Defendant.                           :

                                              ORDER

            AND NOW, this 25th day of March, 2019, it having been reported that the issues between

the parties in the above action have been settled and upon Order of the Court pursuant to the

provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

            ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement

of counsel without costs.




                                        KATE BARKMAN, Clerk of Court

                                               /s/ Richard C. Thieme
                                        BY:
                                               Richard C. Thieme
                                               Deputy Clerk




Civ 2 (8/2000)
41(b).frm
